                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                       DOCKET NO. 3:05-CR-277-10-FDW-DCK

UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )
                                                  )
   v.                                             )             ORDER
                                                  )
RICHARD RATLIFF,                                  )
                                                  )
               Defendant,                         )
                                                  )
and                                               )
                                                  )
PRIORITY AUTOMOTIVE                               )
HUNTERSVILLE, INC.,                               )
                                                  )
                Garnishee.                        )
                                                  )


        THIS MATTER IS BEFORE THE COURT on the United States of America’s

“Motion for Dismissal of Writ of Garnishment” (Document No. 726) filed December 27, 2012.

This motion has been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. §

636(b), and immediate review is appropriate. Having carefully considered the motion, the

record, and applicable authority, the undersigned will grant the motion.

        IT IS THEREFORE, ORDERED that “Motion for Dismissal of Writ of Garnishment”

(Document No. 726) is GRANTED.             The Writ of Continuing Garnishment filed against

Defendant Richard Ratliff, as to Garnishee, Priority Automotive Huntersville, Inc., (Document

No. 713) is DISMISSED.

                                         Signed: January 22, 2013




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